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                     UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA



ANGELA MYERS et al., on behalf of
themselves and all others similarly situated,

                       Plaintiffs,              Case No. 3:23-cv-888-FDW-SCR

v.                                              Judge Frank D. Whitney

NATIONAL ASSOCIATION FOR STOCK                  Magistrate Judge Susan C. Rodriguez
CAR AUTO RACING, INC. et al.,

                       Defendants.


UNITED STATES OF AMERICA’S MEMORANDUM OF LAW IN DEFENSE OF THE
    CONSTITUTIONALITY OF THE VIDEO PRIVACY PROTECTION ACT
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                                        INTRODUCTION

       The Video Privacy Protection Act (“VPPA”), 18 U.S.C. § 2710, prohibits “video tape

service provider[s]” from knowingly disclosing their customers’ personally identifiable

information, with limited exceptions. Here, Plaintiffs Angela Myers, Oscar Rodriguez, Paul

Sutton, Trevor Adkins, Brent Rish, Derek Sammelman, and Mary Martin, individually and on

behalf of a putative class, allege that Defendants National Association for Stock Car Auto Racing,

Inc., and NASCAR Digital Media, LLC, (collectively, “NASCAR”) violated the VPPA by

knowingly disclosing to Facebook information about videos Plaintiffs viewed on NASCAR’s

website. NASCAR moved to dismiss the complaint primarily on non-constitutional grounds.

NASCAR also challenges the constitutionality of the VPPA under the First Amendment and the

Due Process Clause of the Fifth Amendment.

       Consistent with settled constitutional avoidance principles, the Court should resolve all

non-constitutional questions before addressing constitutional issues. Although the United States

takes no position on these non-constitutional questions, 1 analyzing the statute and applying the

statute to the facts of this dispute may resolve or substantially narrow the constitutional questions.

       Should a constitutional analysis remain necessary, the Court should reject NASCAR’s

constitutional challenges.    NASCAR’s vagueness challenge fails because the VPPA has

reasonably clear terms set by statute and interpreted by various court decisions, and NASCAR had

ready notice of those terms’ possible application. The VPPA also passes intermediate scrutiny

under Central Hudson Gas & Electric Corp. v. Public Service Commission of New York, 447 U.S.

557 (1980), because the statute serves the government’s substantial interest in protecting consumer



1
  The United States takes no position on NASCAR’s non-constitutional arguments in favor of
dismissal; the United States intervenes in this matter solely for the limited purpose of defending
the constitutionality of the VPPA.
                                                  1
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privacy and intellectual freedom, directly advances that interest, and is no more extensive than

necessary to serve that interest.

       Accordingly, if the Court determines it must reach NASCAR’s constitutional arguments to

resolve the motion to dismiss, the Court should reject them and affirm the VPPA’s

constitutionality.

                                        BACKGROUND

I.     Legal Background

       Congress enacted the VPPA in 1988 in response to the Washington City Paper’s

publication of then-Supreme-Court-nominee Robert Bork’s video rental history, obtained without

his knowledge or consent. In re Nickelodeon Consumer Priv. Litig., 827 F.3d 262, 278 (3d Cir.

2016). “Members of the Judiciary Committee ‘denounced the disclosure,’” and Congress passed

the VPPA soon after. Mollett v. Netflix, Inc., 795 F.3d 1062, 1065 (9th Cir. 2015) (quoting S. Rep.

No. 100-599, at 5 (1988), reprinted in 1988 U.S.C.C.A.N. 4342-1,5). The VPPA was enacted

“[t]o preserve personal privacy with respect to the rental, purchase[,] or delivery of video tapes or

similar audio visual materials.”     Id. (quoting S. Rep. No. 100-599, at 1).         Among other

justifications, the Senate Report cited consumers’ First Amendment right to intellectual freedom

as one of the bases underlying the legislation. See S. Rep. No. 100-599, at 4-5.

       The statute prohibits a “video tape service provider” from “knowingly” disclosing

“personally identifiable information concerning any consumer” to “any person.” 18 U.S.C.

§ 2710(b)(1). It provides several exceptions to this prohibition, permitting (1) disclosure to the

consumer; (2) disclosure the consumer has authorized via “informed, written consent” provided

“in a form distinct and separate from any form setting forth other legal or financial obligations”;

(3) disclosure to a law enforcement agency pursuant to a warrant, subpoena, or court order; (4)

disclosure that is “solely of the names and addresses of consumers,” provided the consumer had
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the ability to opt out and the disclosure does not identify the subject matter of any material (unless

the sole purpose is marketing directly to the consumer); (5) disclosure “incident to the ordinary

course of business of the video tape service provider” 2; and (6) disclosure pursuant to a court order

in a civil proceeding. Id. § 2710(b)(2). The statute creates a private right of action for any

aggrieved person to bring a civil suit against any person who violates its terms. Id. § 2710(c). The

VPPA does not contemplate civil or criminal enforcement by the government.

       The statute defines several key terms. Relevant here, a “video tape service provider” is

“any person, engaged in the business . . . of rental, sale, or delivery of prerecorded video cassette

tapes or similar audio visual materials.” Id. § 2710(a)(4). “Personally identifiable information”

(“PII”) is “information which identifies a person as having requested or obtained specific video

materials or services from a video tape service provider.” Id. § 2710(a)(3). A “consumer” is “any

renter, purchaser, or subscriber of goods or services from a video tape service provider.” Id.

§ 2710(a)(1).

       The VPPA has recently been subject to several First Amendment challenges similar to the

one advanced here. Notably, a court in the District of Massachusetts recently upheld the VPPA’s

constitutionality as applied to the disclosure of viewing history to third-party analytics companies.

Saunders v. Hearst Television, Inc., No. 23-CV-10998-RGS, 2024 WL 126186, at *1 (D. Mass.

Jan. 11, 2024). The court determined that the VPPA withstood intermediate scrutiny as a

restriction on commercial speech. Id. at *5. The court noted that the “Supreme Court has

repeatedly recognized the sanctity of personal privacy,” and held that prohibiting disclosure “to

third parties the precise videos that plaintiffs viewed alongside plaintiffs’ PII directly and




2
 The VPPA defines “ordinary course of business” to include only “debt collection activities, order
fulfillment, request processing, and the transfer of ownership.” 18 U.S.C. § 2710(a)(2).
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materially advances that interest.” Id. The court further held that “the VPPA is narrowly drawn

because it applies only to a narrow group of business entities and specific group of consumers.”

Id.

       Although no court yet has adjudicated the merits of a facial constitutional challenge to

VPPA, an analogous state statute has survived such challenges: two different judges in the

Southern District of New York determined that a Michigan statute’s similar restrictions on

disclosure did not violate the First Amendment. See Boelter v. Hearst Commc’ns, Inc., 192 F.

Supp. 3d 427, 435 (S.D.N.Y. 2016) (“Hearst I”); Boelter v. Advance Mag. Publishers Inc., 210 F.

Supp. 3d 579, 585-86 (S.D.N.Y. 2016) (“Advance Mag.”); see also Boelter v. Hearst Commc’ns,

Inc., 269 F. Supp. 3d 172, 196-98 (S.D.N.Y. 2017) (“Hearst II”). A magazine subscriber sued two

publishing companies under the Michigan Video Rental Privacy Act (“MVRPA”)—a statute with

prohibitions similar to the VPPA, but that also prohibits disclosing written materials and sound

recordings consumers acquire—over their practice of selling customer information to data miners.

The publishers defended the suits, in part, by arguing that the MVRPA was unconstitutional under

the First Amendment on its face and as applied to them. Both courts rejected these arguments.

       The court in Hearst I, the first of the two cases, applied the test governing commercial

speech, see Cent. Hudson, 447 U.S. at 566, and found that the statute was constitutional as applied

to the publisher’s practice of selling information about its consumers to data miners and other third

parties, Hearst I, 192 F. Supp. 3d at 451. The court determined that consumer privacy was a

substantial state interest, id. at 447-48; the data disclosure restrictions in the MVRPA directly

advanced that interest, id. at 449; and the statute was sufficiently narrowly tailored because it

limited “precisely the kind of information with which the state [was] concerned”—namely,

information disclosing individuals’ reading, listening, and viewing preferences—and “target[ed]



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those most likely to disseminate it,” id. The court in Advance Magazine reached the same

conclusions a few months later. See Advance Mag., 210 F. Supp. 3d at 596-603. And in Hearst

II, the court reaffirmed its Hearst I holding that the MVPRA constituted a valid restriction on

commercial speech that did not offend the First Amendment. See Hearst II, 269 F. Supp. 3d at

196-98.

II.     Plaintiffs’ Claims

        Plaintiffs brought this putative class action for declaratory and injunctive relief and

damages based on NASCAR’s alleged disclosure of PII and video watching data. Compl. ¶¶ 20-

28, ECF No. 1. NASCAR provides video content on its website, from which data was allegedly

collected and distributed via a tracking pixel. Id. ¶¶ 1-2, 7. This information is allegedly used to

target and deliver ads. Id. ¶ 16. Plaintiffs’ proposed class encompasses “[a]ll persons in the United

States with a subscription to the [NASCAR] Website that had their Personal Viewing Information

improperly disclosed to Facebook through the use of the Facebook Pixel.” Id. ¶ 174.

III.    Procedural History

        Plaintiffs filed their Complaint on December 21, 2023. Compl. On March 4, 2024,

NASCAR moved to dismiss under Federal Rule of Civil Procedure 12(b)(6), raising statutory and

constitutional arguments. Mot. to Dismiss, ECF No. 14. At the same time, NASCAR filed a notice

of constitutional challenge pursuant to Federal Rule of Civil Procedure 5.1, explaining that

NASCAR’s Motion to Dismiss “argues that the VPPA is an unconstitutional restraint on speech

in violation of the First Amendment of the United States Constitution and a violation of the Due

Process Clause of the Fifth Amendment.” ECF No. 15.

                                          ARGUMENT

        The Court should decline to address the constitutionality of the VPPA until it resolves all

non-constitutional issues raised in NASCAR’s Motion to Dismiss. If the Court does reach

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NASCAR’s constitutional challenges, it should reject them. The VPPA is not facially vague,

withstands intermediate scrutiny, and would be constitutional if applied to NASCAR.

       I.      The Court Should Adhere to Constitutional Avoidance Principles.

       Much of NASCAR’s brief addresses statutory, non-constitutional grounds for dismissal.

Although the United States takes no position on the non-constitutional arguments raised by

NASCAR, the Court should consider them before taking up the constitutional issues. It is well-

established that “prior to reaching any constitutional questions, federal courts must consider

nonconstitutional grounds for decision.” Gulf Oil Co. v. Bernard, 452 U.S. 89, 99 (1981); see also

Bell Atl. Md., Inc. v. Prince George’s County, 212 F.3d 863, 865 (4th Cir. 2000) (“[C]ourts should

avoid deciding constitutional questions unless they are essential to the disposition of a case.”).

And even when courts need to address constitutional issues, the Supreme Court has directed that

courts should first resolve as-applied challenges before addressing facial challenges. Bd. of Trs.

of State Univ. of N.Y. v. Fox, 492 U.S. 469, 484 (1989).

       As in the VPPA cases cited in the Part I of NASCAR’s brief, statutory interpretation could

prove dispositive or else substantially narrow the constitutional analysis. See, e.g., Mot. to Dismiss

at 3-5 (collecting cases). The Court may be able to further avoid constitutional problems by

adopting a particular construction of the statute. See United States v. Hansen, 599 U.S. 762, 781

(2023) (“When legislation and the Constitution brush up against each other, our task is to seek

harmony, not to manufacture conflict.”); United States v. Hamilton, 699 F.3d 356, 367 (4th Cir.

2012) (“As a ‘cardinal principle’ of statutory interpretation, we may avoid such serious

constitutional concerns if we are able to ‘ascertain whether a construction of the statute is fairly

possible by which the question may be avoided.’” (quoting Zadvydas v. Davis, 533 U.S. 678, 689

(2001))).



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       II.     The VPPA Is Not Facially Void for Vagueness.

       NASCAR’s argument that the VPPA is facially void for vagueness in violation of the Due

Process Clause is unavailing. To successfully challenge a statute as facially vague, “a movant

‘must establish that no set of circumstances exists under which [an act] would be valid.’” Fusaro

v. Howard, 19 F.4th 357, 373 (4th Cir. 2021) (quoting United States v. Hosford, 843 F.3d 161, 165

(4th Cir. 2016)); see also Vill. of Hoffman Ests. v. Flipside, Hoffman Ests., Inc., 455 U.S. 489, 497

(1982). “That is a particularly demanding standard and is the ‘most difficult challenge to mount

successfully.’” Fusaro, 19 F.4th at 373 (quoting United States v. Salerno, 481 U.S. 739, 745

(1987)). NASCAR does not attempt to allege that all applications of the VPPA are impermissibly

vague. As such, NASCAR’s facial challenge fails.

       A law is unconstitutionally vague if it “fails to provide a person of ordinary intelligence

fair notice of what is prohibited, or is so standardless that it authorizes or encourages seriously

discriminatory enforcement.” Id. at 371 (quoting Martin v. Lloyd, 700 F.3d 132, 135 (4th Cir.

2012)). The operative question is whether the statute is “set out in terms that the ordinary person

exercising ordinary common sense can sufficiently understand and comply with.” Id. (quoting

Broadrick v. Oklahoma, 413 U.S. 601, 608 (1973)). “That inquiry is aided by both ‘dictionary

definitions and old-fashioned common sense.”’ Id. (quoting Wag More Dogs Liab. Corp. v.

Cozart, 680 F.3d 359, 371 (4th Cir. 2012)).

       Most terms in the VPPA are statutorily defined, see 18 U.S.C. § 2710(a), and additional

clarity has been added by the courts, see, e.g., Ellis v. Cartoon Network, Inc., 803 F.3d 1251, 1256

(11th Cir. 2015) (noting that a “subscription” must involve “some type of commitment,

relationship, or association . . . between a person and an entity”). NASCAR challenges the terms

“business,” “delivery,” “subscriber,” and “goods or services” as impermissibly vague. Mot. to

Dismiss at 13 (emphasis omitted). But NASCAR does not argue that a person of ordinary
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intelligence would not understand these terms. And these terms are “quite different from the sorts

of terms that [courts] have previously declared to be vague.” Holder v. Humanitarian L. Project,

561 U.S. 1, 20 (2010). For instance, the Supreme Court has “struck down statutes that tied criminal

culpability to whether the defendant’s conduct was ‘annoying’ or ‘indecent’—wholly subjective

judgments without statutory definitions, narrowing context, or settled legal meanings.” Id.

(quoting United States v. Williams, 553 U.S. 285, 306 (2008)). Applying the VPPA’s terms, on

the other hand, does not require subjective judgments. Cf. id. at 21 (holding the statutory terms

“training,” “expert advice or assistance,” “service,” and “personnel” were not vague). Moreover,

the VPPA’s “knowledge requirement . . . further reduces any potential for vagueness.” Id.; see 18

U.S.C. § 2710(b)(1) (only applying to those “who knowingly disclose” PII (emphasis added)).

        “As the Supreme Court has repeated, facial invalidation of legislation is disfavored” and

“contrary to principles of judicial restraint.” United States v. Chappell, 691 F.3d 388, 392 (4th

Cir. 2012). Here, NASCAR has not met its high burden of establishing a facial constitutional

problem.

        III.    The VPPA Withstands Intermediate Scrutiny.

        NASCAR does not dispute that the disclosures at issue here amount to commercial speech.

Mot. to Dismiss at 14. “Commercial speech enjoys a limited measure of protection.” Fla. Bar v.

Went for It, Inc., 515 U.S. 618, 623 (1995) (quoting Fox, 492 U.S. at 477) (alterations omitted).

Because the VPPA regulates commercial speech, its constitutionality under the First Amendment

is analyzed using the Central Hudson standard. Id. That standard examines: (1) “whether the

asserted governmental interest is substantial”; (2) “whether the regulation directly advances the

governmental interest asserted”; and (3) “whether it is not more extensive than is necessary to

serve that interest.” Recht v. Morrisey, 32 F.4th 398, 408 (4th Cir.), cert. denied, 143 S. Ct. 527 (2022)



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(quoting Cent. Hudson, 447 U.S. at 566). The VPPA’s disclosure prohibitions satisfy this

standard.

                 A. The VPPA Advances a Substantial Government Interest

       The governmental interest underlying the VPPA is “substantial.” Congress passed the

VPPA “[t]o preserve personal privacy with respect to the rental, purchase or delivery of video

tapes or similar audio visual materials.” S. Rep. No. 100-599, at 1; see also Eichenberger v. ESPN,

Inc., 876 F.3d 979, 983 (9th Cir. 2017) (explaining that the VPPA “protects privacy interests . . .

by ensuring that consumers retain control over their personal information”). Protecting privacy

has long been recognized as a substantial governmental interest. Fla. Bar, 515 U.S. at 625.

“[B]oth the common law and the literal understandings of privacy encompass the individual’s

control of information concerning his or her person.” U.S. Dep’t of Just. v. Reps. Comm. For

Freedom of Press, 489 U.S. 749, 763 (1989).          Courts have specifically acknowledged the

government’s substantial interest in protecting the privacy of consumer information. See, e.g.,

Saunders, 2024 WL 126186, at *5; Hearst II, 269 F. Supp. 3d at 197; Advance Mag., 210 F. Supp.

3d at 599; see also Trans Union Corp. v. FTC, 245 F.3d 809, 818 (D.C. Cir. 2001) (finding that

the government’s “interest [in] protecting the privacy of consumer credit information . . . is

substantial”).

       The government’s interest in protecting privacy is reinforced by its interest in protecting

consumers’ own First Amendment-protected activities. That is, the VPPA prevents the chilling of

consumers’ right to view expressive videos of their choosing.           The VPPA was passed in

recognition of “the relationship between the right of privacy and intellectual freedom” as a “central

part” of the First Amendment. S. Rep. No. 100-599, at 4. And “[p]rotecting an individual’s choice

of books and films is a . . . pillar of intellectual freedom under the first amendment.” Id. (citing



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Stanley v. Georgia, 394 U.S. 557, 565 (1969)); see also Bd. of Educ., Island Trees Union Free

Sch. Dist. No. 26 v. Pico, 457 U.S. 853, 866-67 (1982) (“[W]e have held that in a variety of contexts

‘the Constitution protects the right to receive information and ideas.’” (citation omitted)).

Disclosure can chill the exercise of that right. See NAACP v. Alabama ex rel. Patterson, 357 U.S.

449, 462 (1958) (“This Court has recognized the vital relationship between freedom to associate

and privacy in one’s associations.”); Van Hollen v. Fed. Election Comm’n, 811 F.3d 486, 488

(D.C. Cir. 2016) (“Disclosure chills speech.”). To that end, the government has a substantial

interest in regulating disclosures to protect the expressive speech rights of consumers. See Burson

v. Freeman, 504 U.S. 191, 208 (1992) (plurality op.) (holding that certain regulations on speech

were permissible given “compelling interest in securing the right to vote freely and effectively”).

       NASCAR’s argument to the contrary applies the wrong law. NASCAR cites Brown v.

Entertainment Merchants Association, 564 U.S. 786 (2011), for the assertion that without a long

tradition of proscription, the government may not impose new restrictions on commercial speech.

Mot. to Dismiss at 14. But Brown is inapplicable here. Brown addresses when legislators may

establish a new category of unprotected speech (like obscenity or incitement of violence), not

when or how legislators may regulate protected speech. Brown, 564 U.S. at 794. The VPPA, in

contrast, does not seek to create a new category of unprotected speech. Because it is undisputed

that this case involves commercial speech within the ambit of First Amendment protection, there

is no need to determine whether there is a “long tradition of proscription” justifying no protection

at all. The standard for this case is set by Central Hudson—a case Brown had no occasion to

discuss because Brown did not involve commercial speech—and the substantial body of case law

defining government interests.




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               B. The VPPA Directly Advances the Asserted Interest.

       NASCAR does not appear to deny that the VPPA “directly and materially advances” the

government’s asserted interest. See Mot. to Dismiss at 13-14. The VPPA does indeed “directly

advance” the government’s interest in protecting the privacy of individuals’ video viewing choices.

When regulating commercial speech, the government must “demonstrate that the harms it recites

are real and that its restriction will in fact alleviate them to a material degree.” Rubin v. Coors

Brewing Co., 514 U.S. 476, 487 (1995) (quoting Edenfield v. Fane, 507 U.S. 761, 770-71 (1993)).

On its face, the VPPA applies to individuals who sell, rent, or deliver video recordings—the only

individuals, other than the consumer, likely to have access to the information the statute seeks to

keep private. Hearst I, 192 F. Supp. 3d at 449; see also Saunders, 2024 WL 126186, at *5 (“[T]he

VPPA is narrowly drawn because it applies only to a narrow group of business entities and specific

group of consumers.”). Restricting the ability of these individuals to disclose such information

directly advances the goal of keeping that information private. Saunders, 2024 WL 126186, at *5;

see also Nat’l Cable & Telecomms. Ass’n v. FCC, 555 F.3d 996, 1001 (D.C. Cir. 2009) (“The

privacy of customer information cannot be preserved unless there are restrictions on the carrier’s

disclosure of it.”). And the lawsuits that have credibly alleged VPPA violations over the years

demonstrate that the disclosures the statute seeks to prevent are a legitimate concern. See, e.g.,

Yershov v. Gannett Satellite Info. Network, Inc., 820 F.3d 482, 484 (1st Cir. 2016) (finding that

plaintiffs adequately stated a claim under the VPPA); Harris v. Pub. Broad. Serv., 662 F. Supp.

3d 1327, 1336-37 (N.D. Ga. 2023) (same); Czarnionka v. Epoch Times Ass’n, No. 22 Civ. 6348

(AKH), 2022 WL 17069810, at *4 (S.D.N.Y. Nov. 17, 2022), motion to certify appeal denied,

2022 WL 1778689 (S.D.N.Y. Dec. 15, 2022) (same); In re Vizio, Inc., Consumer Priv. Litig., 238




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F. Supp. 3d 1204, 1221-26 (C.D. Cal. 2017) (same); In re Hulu Priv. Litig., No. C 11-03764 LB,

2012 WL 3282960 (N.D. Cal. Aug. 10, 2012) (same).

                 C. The VPPA Is Sufficiently Tailored.

       Finally, the VPPA is sufficiently narrowly drawn. The Central Hudson standard requires

a fit between the governmental interest and the statute restricting commercial speech that is “not

necessarily perfect,” but rather “reasonable.” Fox, 492 U.S. at 480. Such a fit exists here. As

explained, the VPPA’s disclosure prohibitions are targeted at the commercial entities most likely

to have, and thus, be able to disclose, the information Congress intended to protect. The statute

also includes exemptions that allow consumers to make choices about their own information and

permit regulated entities to conduct business and comply with law enforcement and judicial

directives as necessary.     The statute’s consent requirements, like providing consumers an

opportunity to withdraw consent on a case-by-case basis and requiring consent to be re-obtained

every two years, “allow[] consumers to maintain control over personal information.” S. Rep. No.

100-599, at 8.

       NASCAR’s complaint about the VPPA’s standalone, written consent requirement does not

undermine the fit between the statute’s prohibitions and the government’s interest. NASCAR cites

no case law that suggests that this requirement might render the statute unconstitutional. In arguing

that Congress could have chosen less burdensome forms of consent, see id. at 15, NASCAR

provides no support for the assertion that Congress must choose the floor for enforceability in its

attempts to protect consumer privacy. To the contrary, robust consent requirements can serve

salutary purposes: ensuring that consumers are fully and knowingly abdicating their privacy

interests serves the “interest in preventing commercial harms [that] justifies more intensive

regulation of commercial speech than noncommercial speech.” City of Cincinnati v. Discovery



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Network, Inc., 507 U.S. 410, 426 n.21 (1993). And setting aside whether, or by how much, less-

restrictive consent requirements could also advance the statute’s objectives, Central Hudson does

not require the least restrictive means of regulating commercial speech, but rather a “fit between

the legislature’s ends and the means chosen to accomplish those ends” that is “reasonable.” See

Fla. Bar, 515 U.S. at 632 (quoting Fox, 492 U.S. at 480). So long as the fit is “reasonable,” courts

“leave it to governmental decisionmakers to judge what manner of regulation may best be

employed.” Fox, 492 U.S. at 480. Given the interests at stake, the VPPA is sufficiently narrowly

tailored. Accord Hearst I, 192 F. Supp. 3d at 451.

        Accordingly, the VPPA passes intermediate scrutiny.

        IV.     The VPPA Withstands NASCAR’s As-Applied Constitutional Challenge.

        In the final two sentences of its brief, NASCAR argues that the VPPA violates NASCAR’s

Due Process and First Amendment rights if applied to it. Mot. to Dismiss at 15. Even assuming

these arguments were adequately raised, they lack merit. NASCAR’s as-applied First Amendment

challenge fails because, as discussed above in Part III, the VPPA survives intermediate scrutiny. See

Educ. Media Co. at Va. Tech, Inc. v. Insley, 731 F.3d 291, 298 (4th Cir. 2013) (“Central Hudson

applies to both facial and as-applied challenges.”).

        Additionally, the extended string of cases applying the VPPA to conduct like that alleged

here necessarily defeats NASCAR’s vagueness challenge. Although not every VPPA case has

been successful on the merits, many courts have applied the VPPA to disclosures to social media

companies through a tracking pixel. See, e.g., Czarnionka, 2022 WL 17069810, at *1 (disclosure

of video viewing history through Facebook pixel); Harris, 662 F. Supp. 3d at 1336 (same). The

statute also provides clear standards for how businesses can comply with the VPPA, including

providing exemptions, see 18 U.S.C. § 2710(b)(2)(A)-(F), and detailing consent requirements, see

id. § 2710(b)(2)(B)(i)-(iii). These cases, combined with the statute itself, provided NASCAR with

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a “reasonable opportunity to know what is prohibited” including “explicit standards.” Grayned v.

City of Rockford, 408 U.S. 104, 108 (1972).

                                       CONCLUSION

       For the foregoing reasons, the Court should reject Defendants’ constitutional challenge.

Date: May 3, 2024

                                              Respectfully submitted,

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                            CERTIFICATE OF WORD COUNT


       I hereby certify, subject to Rule 11, that the United States of America’s Memorandum of

Law in Defense of the Constitutionality of the Video Privacy Protection Act complies with the

Court’s 4,500-word limitation.




                                                           /s/ Bonnie E. Devany
                                                           BONNIE E. DEVANY




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                                CERTIFICATE OF SERVICE


       I hereby certify that on May 3, 2024, I electronically transmitted the attached document

to the Clerk’s Office using the CM/ECF System for filing and transmittal of a Notice of

Electronic Filing to the CM/ECF registrants for this matter.




                                                               /s/ Bonnie E. Devany
                                                               BONNIE E. DEVANY




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